Case: 1:02-cv- O89 acumen #: 153 Filed: 03/23/04 tn of 4 PagelD #:1337

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

GENEROSO TROMBETTA

Plaintiff,
No. 02-C-5895
Vv.

| JURY TRIAL DEMANDED Lory,
BOARD OF EDUCATION, PROVISO
TOWNSHIP HIGH SCHOOL
DISTRICT NO. 209,
COOK COUNTY, ILLINOIS; :
THERESA L. KELLY; EMANUEL “CHRIS”
WELCH; DANIEL J. ADAMS;
MICHAEL J. CARLSON;
RONALD SERPICO; and
GREGORY T. JACKSON,

Judge Kennelly Map 24 ?
Magistrate Judge Ashman fx,

FILED .

MAR 2 3 2004

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‘Defendants.
MICHAEL W. DOBSINS

PLAINTIFF’S MOTION IN LIMINE NO, SERK: U-S. DISTRICT COURT
(Daubert: Expert Damages Testimony)

1, Defendant Serpico has listed as an expert witness, an accountant, William
Metzdorff, to testify regarding “the present value of plaintiff's lost past arid future income and
employment benefits as a result of his termination.” FPTO, Schedule 4, p. 15. His testimony

regarding future lost esmings is not admissible. D OCK E TED
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; Uy, 2. Under the Daubert framework, Daubert v. Merrell Dow Pharmaceuticals, Inc.,

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Fk, the € facts of the case so that it will aid the trier of fact to understand or determine a fact in issue,

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Case: 1:02-cv-05895 Document #: 153 Filed: 03/23/04 Page 2 of 4 PagelD #:1338

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and reliable, meaning that it is grounded in trustworthy principles, methods and data.'

Metzdorff's opinions with respect to plaintiff's future lost earnings fail both tests.

Metzdorff's Future Lost Earnings Opinions
Do Not Relate to Any Issue in this Case and Therefore Must Be Excluded.

 

3. _ _ As Mr. Metzdorff admitted at his recent deposition (March 11, 2004; copy
attached hereto as Exhibit A), his estimates of plaintiff's future lost earnings assume a damages
period of 32 years — from 2004 through 2035, His expert report (attached hereto as Exhibit B)
does not discuss future losses for any shorter damages period. He has made no calcylations for
any shorter damages period. He has no opinion regarding future losses over any shorter period.
Metzdorff Dep. Tr. at 37:17-40:12, 43:6-45:21.

4, Metzdorff's opinions regarding future losses must therefore be excluded. The
damages period he has used for future losses (2004-2035) is not the damages period in this case.
Plaintiff does not claim that he will continue to suffer diminished earnings clear through to 2035

as a result of his termination in 2001.2 Mr. Metzdorff therefore has computed future losses based

 

’ Daubert, 509 U.S. at 589-591 & n.9 (“[T]he trial judge must ensure that any and all
scientific testimony or evidence admitted is not only relevant, but reliable ...Proposed testimony
must be supported by appropriate validation — i.e., ‘good grounds' ....[O]ur reference here is to
evidentiary reliability — that is, trustworthiness ....[I]t is further require[d] that the evidence or
testimony ‘assist the trier of fact to understand the evidence or to determine a fact in issue.’ This
condition goes primarily to relevance....Th[is] consideration has been aptly described ... as one of
'fit”’); Kumho Tire, 526 U.S. at 149 (“[W]Jhere such testimony's factual basis, data, principles,
methods or their application are called sufficiently into question ..., the trial judge must
determine whether the testimony has 'a reliable basis in the knowledge and experience of [the
relevant} discipline.”’).

*The appropriate duration of the damages period for an award of future lost earnings is a
question of fact to be determined at trial, but plaintiff will not seek any award of future lost
earnings stretching out 32 years.
Case: BOR NOSES moment #: 153 Filed: 03/23/04 Pads: of 4 PagelD #:1339

basis for presuming they will do so in the future. Linke Declaration, Furthermore, and this is
likewise dispositive, Metzdorff's report discloses no such basis. Fed. R. Civ. P. 26(a}2) (“The
report shall contain a complete statement of all opinions ... and the basis and reasons therefor”).

7. Metzdorff's calculation of future lost compensation flunks, therefore, the standard
of evidentiary reliability required by Daubert, Kumho Tire and the Federal Rules, and it must be
excluded. Testimony based on 2 methodology having no valid economic basis is not admissible
under Daubert.

8. “Nothing in either Daubert or the Federal Rules of Evidence Tequires a district
court to admit opinion evidence that is connected to existing data only by the ipse dixit of the
expert.” Kumho Tire, 526 U.S. at 157 (quoting General Electric Co. v. Joiner, 522 U.S. 136, 146

(1997).

Dated: March 23, 2004
Respectfully submitted,

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One of the attorneys for Generoso Trombetta

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a Case: 1:02-c-058mEDOUMBNt A: 153 Filed: 02/25/04 Pages of 4 PagelD #1340" op te

 

 

 

 
